  Case 19-10236                Doc 109           Filed 07/22/19 Entered 07/22/19 15:29:55                                    Desc Main
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